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                                                                  Filed:   425     11:54 AM
                                                                  Marci A. Gilbert
                                                                  District Clerk
                                                                  Cooke County, Texas
                           CAUSE NO. CV18-00515                   Tracy Chauncey

STARK RANCH-WEST, LLC                                   §      IN THE DISTRICT COURT
                                                        §
         Plaintiff,                                     §
                                                        §
v.                                                      §
                                                        §
REDI-MIX, LLC and                                       §
OKLAHOMA CHRISTIAN                                      §      235th JUDICIAL DISTRICT
UNIVERSITY, NORTH CENTRAL                               §
TEXAS COLLEGE, UNITED WAY OF                            §
COOKE COUNTY, and FROST BANK,                           §
AS CO-TRUSTEES OF THE LEO                               §
AND MABEL SCOTT CHARITABLE                              §
TRUST                                                   §
                                                        §
         Defendant.                                     §      COOKE COUNTY, TEXAS

                           PLAINTIFF'S THIRD AMENDED PETITION

         Stark Ranch-West, LLC ("Stark Ranch") files its Third Amended Petition against Redi-Mix,

LLC ("Redi-Mix") and Oklahoma Christian University, North Central Texas College, United Way of

Cooke County, and Frost Bank, as Co-Trustees of the Leo and Mabel Scott Charitable Trust

(collectively, the "Scott Trust"), and respectfully states to the Court as follows:

                                      I.
                 DISCOVERY CONTROL PLAN AND RULE 47 STATEMENT

         1.       Stark Ranch intends to conduct discovery under Level 2 discovery control plan, as

provided by of Rule 190.3 of the Texas Rules of Civil Procedure ("TRCP"). At this time, Stark

Ranch seeks monetary relief against Red-Mix over $1,000,000. Stark Ranch also seeks declaratory

relief against Redi-Mix and the Scott Trust.

                                                       II.
                                                     PARTIES

         2.       Stark Ranch is a domestic limited liability company organized under the laws of the

State of Texas.
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         3.       Redi-Mix is a domestic limited liability company organized under the laws of the

State of Texas. Redi-Mix has appeared herein and is before the Court for all purposes.

         4.       Oklahoma Christian University is a Co-Trustee of the Leo and Mabel Scott

Charitable Trust. Oklahoma Christin University may be served with process through its registered

agent, Stephen Eck, at 2501 East Memorial Rd, in Edmond, Oklahoma 73013. Pursuant to Texas

Rules of Civil Procedure 103, 106, 107, and 108, Stark Ranch requests the Clerk of the Court to

serve the citation and petition on Oklahoma Christian University by mailing it to the foregoing by

registered or certified mail, return receipt requested.

         5.       North Central Texas College is a Co-Trustee of the Leo and Mabel Scott Charitable

Trust. North Central Texas College may be served with process through its registered agent, Debbie

A. Sharp, at 1525 West California, Gainesville, Texas 76240.

         6.       United Way of Cooke County is a Co-Trustee of the Leo and Mabel Scott Charitable

Trust. United Way of Cooke County may be served with process through its registered agent: (i)

Lynn Switzer, 406 North Grand Avenue, Suite 108, P.O. Box 2040, Gainesville, Texas 76241;

and/or (ii) Angie Hare, at 114 E. Main Street, Gainesville, Texas 76240 or at P.O. Box 208,

Gainesville, Texas 76241.

         7.       Frost Bank is a Co-Trustee of the Leo and Mabel Scott Charitable Trust. Frost Bank

may be served with process through Stanley E. McCormick Jr., at 100 West Houston Street, San

Antonio, Texas 78205.

                                                 III.
                                      JURISDICTION AND VENUE

         8.       This Court has subject-matter jurisdiction over this cause because the amount in

controversy is within the Court's jurisdictional limit.

         9.       This Court has personal jurisdiction over Redi-Mix and the Scott Trust because they

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have done business in Texas and/or have had minimum contacts with Texas such that the

maintenance of this lawsuit in Texas does not offend traditional notions of fair play and substantial

justice.

           10.     Venue is mandatory in Cooke County, Texas because this action is for recovery of

damages to real property located in Cooke County, Texas. 1 Alternatively, venue is proper in Cooke

County, Texas because all or a substantial part of the events or omissions giving rise to the claims

herein occurred in Cooke County, Texas. 2

                                                    IV.
                                             STATEMENT OF FACTS

           11.     Redi-Mix supplies redi-mixed concrete primarily in the Dallas/Fort Worth Metroplex

and North Texas markets. Among other things, Redi-Mix owns and operates a dredging and sand

mining operation on the Red River with a processing facility erected on, and adjacent to, the north

side of the Red River in Love County, Oklahoma and generally located at 12979 White Rose Road,

Thackerville, Oklahoma.

           12.     Stark Ranch owns real property generally located on, and adjacent to, the south side

of the Red River, which real property is located primarily in Texas and partially in Oklahoma. 3

           13.     The activities involved in this suit concern Redi-Mix's trespass upon the property of

Stark Ranch; Redi-Mix's conversion of property (sand) owned by Stark Ranch through Redi-Mix's



1
          TEX. CIV. PRAC. & REM. CODE § 15.011.
2
          Id. § 15.002(a)(1).
3
          Pursuant to the Red River Boundary Compact ("Compact"), "the permanent political boundary line between
the states of Texas and Oklahoma along the Red River is the vegetation line along the south bank of the Red River . . . ."
TEX. NAT. RES. CODE, Chapter 12, Section 12.002, Art. II(b). Article II(a)(1) of the Compact provides in part that the
"'[v]egetation line' means the visually identifiable continuous line of vegetation that is adjacent to that portion of the
riverbed kept practically bare of vegetation by the natural flow of the river and is continuous with the vegetation beyond
the riverbed." Article VII of the Compact provides: "This compact does not change: (1) [t]he title of any person or
entity, public or private, to any of the lands adjacent to the Red River; (2) [t]he rights, including riparian rights, if any, of
any person or entity, public or private, that exist as a result of the person's or entity's title to land adjacent to the Red
River; or (3) [t]he boundaries of those lands."

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operation of a sand dredging barge in the Red River; Redi-Mix's excavation into the bank of the Red

River and removal of the vegetation and alteration of the then-existing river bank fronting the

property owned by Stark Ranch; Redi-Mix's altering the course and flow of the Red River and

exacerbating erosion of soil on and around property owned by Stark Ranch; and Redi-Mix's artificial

and unlawful alteration of the legal boundary line of the property owned by Stark Ranch along the

Red River.

         14.       On or about May 31, 2018, Stark Ranch closed on its purchase of a tract of real

property from Paul Parker Yarbrough, Jr. and Joanne Keeter (collectively, "Sellers"). A true and

correct legal description of the real estate purchased from Sellers is attached hereto as Exhibit "A."

In connection with such transaction, Stark Ranch engaged a licensed state land surveyor and

registered professional land surveyor to determine the property's gradient boundary line along the

Red River relying on a the well-established and well-publicized survey methodology originally

developed in the United States Supreme Court opinion of State of Oklahoma v. State of Texas, 260 U.S.

606 (1923)). Such survey revealed that Red-Mix's trespass and mining activities had artificially

altered the gradient boundary of the Seller's property along a portion of the Red River. The real

property the subject of Exhibit "A", along with the land highlighted in blue on Exhibit "B"

attached hereto that depicts the artificial alteration of the gradient boundary due to Redi-Mix's

trespass, dredging activities, and conversion of sand, are collectively referred to hereafter as the

"Property."

         15.       As a part of the purchase transaction, the Sellers assigned to Stark Ranch causes of

action previously owned by Sellers respecting Redi-Mix's activities.

         16.       On or about June 3, 2011, a mining lease was executed by and among various parties.

A true and correct copy of the original mining lease is attached hereto as Exhibit "C" ("Mining

Lease").       The Scott Trust was the lessor under the Mining Lease.                     The Mining Lease was
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subsequently amended and assigned to Redi-Mix on September 30, 2013, and Redi-Mix thereafter

constructed its sand mining and processing facility across the Red River from the Property. A true

and correct copy of the Memorandum of Lease Assignment and Amendment of Mining Lease is

attached hereto as Exhibit "D".

         17.      In or around December 2017, the Sellers first discovered that Redi-Mix was

trespassing on the Property and mining and converting sand from the Property. Around this time,

Redi-Mix had placed cables on the Property and cleared timber and other vegetation from the

Property without authorization. Thereafter, on the morning of December 9, 2017, the Sellers placed

"No Trespassing" signs on the Property near the bank of the Red River across from Redi-Mix's

processing facility, and, that very same morning, Parker Yarbrough objected to Redi-Mix's activities

and trespass via an in-person meeting at the Property with a Redi-Mix employee.

         18.      Later on the evening of December 9, 2017, Paul Flanagan, who was the Redi-Mix

operations manager regarding the facility, sent an e-mail to Dave Behring, who was the vice-

president and regional manager for Redi-Mix's parent company, U.S. Concrete, Inc., with the subject

line "Texas – Oklahoma" that attached a November 29, 2017 article regarding a Red River boundary

lawsuit involving land owners along the Red River in the Texas counties of Wichita, Wilbarger, and

Clay. A true and correct copy of the December 9, 2017 e-mail is attached hereto as Exhibit "H".

The article references the aforementioned United States Supreme Court opinion of State of Oklahoma

v. State of Texas and provides that property owners on the south side of the Red River "own the

property up to the gradient boundary line along the southern bank of the [Red] river . . . . "

(emphasis added). The article also references the Red River Boundary Compact and provides that it

does "not address any changes of ownership of the land at issue – merely how state

boundaries (and therefore state authority) would be determined. " (emphasis added).


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         19.      Despite the "No Trespass" signs, Parker Yarbrough's objection to Redi-Mix's

activities and trespass, and Redi-Mix management having very clearly been put on notice of a

substantial issue (which Redi-Mix had a duty to investigate and address prior to conducting any

dredging in the Red River in the first place), Red-Mix continued to trespass on the Property, mine

sand from the Property, and convert the sand to its own possession, ownership, use, and profit.

Indeed, Redi-Mix even caused the Sellers' "No Trespassing" signs to tumble into the Red River as a

result of its continued excavation into the bank of the river on the Property.

         20.      On or about June 8, 2018 (just 8 days after Stark Ranch closed on the purchase from

the Sellers), Steve Schmitz, Vice President of Stark Ranch, left a voicemail on the direct telephone

line of Behring requesting that Behring return the call for purposes of discussing Redi-Mix's

wrongful trespass and conversion on the Property.

         21.      Only after Stark Ranch's legal counsel sent Behring a letter on June 15, 2018

regarding the trespass and conversion did Behring respond with his willingness to converse about

the actions Schmitz complained about on behalf of Stark Ranch.

         22.      On or about June 21, 2018, Behring met with Schmitz in Gainesville, Texas for

purposes of discussing the concerns of Stark Ranch and also to overfly the areas of concern. During

the meeting, Schmitz advised Behring that Redi-Mix was trespassing upon the Property and

wrongfully converting sand from the Property.                  Behring requested information regarding the

methodology used in determining that Redi-Mix was trespassing on the Property. Schmitz agreed to

provide Behring with the requested information.

         23.      Following their meeting, Schmitz sent Behring an email on June 25, 2018, whereby

he explained to Behring that Stark Ranch engaged a licensed state land surveyor and registered

professional land surveyor to determine the Property's gradient boundary line along the Red River.

Schmitz further explained that the expert surveyor determined the Property's gradient boundary
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lines relying on the well-established and well-publicized survey methodology originally developed in

the aforementioned United States Supreme Court opinion of State of Oklahoma v. State of Texas. A

true and correct copy of the June 25, 2018 email is attached as Exhibit "E."

         24.      Of course, Behring and Redi-Mix were, or should have been, already well aware that

the gradient boundary line determined Stark Ranch's property boundary along the Red River.

Nonetheless, on July 9, 2018, Behring responded to Schmitz's earlier email, disagreeing with the

surveyor's findings and suggesting that the Red River Boundary Compact, not the surveyor's

methodology, should have been used in determining the Property boundary line. A true and correct

copy of the July 9, 2018 email is attached as Exhibit "F."

         25.      On July 18, 2018, Schmitz sent a follow-up email to Behring, explaining that the Red

River Boundary Compact did not apply when determining the location of the Property's boundary

lines because the text of the compact explicitly states that it does not change or effect title or real

property boundaries. A true and correct copy of the July 18, 2018 email is attached as Exhibit "G."

         26.      Upon receiving no substantive response from Behring, Stark Ranch filed this action.

Even after Stark Ranch filed this action and served Redi-Mix with process, Redi-Mix continued to

trespass on and mine sand from the Property for a period of time.

                                                    V.
                                             CAUSES OF ACTION

                                COUNT I: INTENTIONAL TRESPASS

                                            (AGAINST REDI-MIX)

         27.      Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

         28.      Stark Ranch became the owner of the Property when it was purchased from Sellers

on May 31, 2018. In connection with said purchase, Sellers assigned to Stark Ranch its rights to sue,

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including its right to sue Redi-Mix. Redi-Mix physically, intentionally, and voluntarily trespassed on

the Property. More specifically, Redi-Mix entered the Property without authorization and mined

sand. Redi-Mix also placed cables on the Property and cleared timber and other vegetation from the

Property without authorization.

         29.      Redi-Mix knew or should have known that it was entering on the Property and that it

was doing so without authorization. Additionally and/or alternatively, Redi-Mix trespassed on the

Property and/or converted sand therefrom willfully and/or in bad faith.

         30.      Redi-Mix's unauthorized, intentional trespass on the Property has caused injury or

damage to the Property, the Sellers, and/or Stark Ranch for which Stark Ranch is entitled to

recover. Stark Ranch seeks all damages available under applicable law, including but not limited to

damages for cost of restoration or repair, loss of use of the land, loss of expected profits from the

use of the land, loss or diminution of market value of land, and/or the intrinsic value of trees and

plants. Further, Stark Ranch seeks damages for the value of the sand and/or the amount of any

enhanced value of the sand, without any deduction for any expenses incurred by Redi-Mix in mining

or processing it. Additionally or alternatively, Stark Ranch seeks damages or for any value added to

the sand by Redi-Mix's inclusion of the sand in any final product, including but not limited to

damages in the full amount of the sales prices or value of any final concrete product sold by Redi-

Mix that included the sand.

         31.      Further, the harm with respect to which Stark Ranch seeks recovery resulted from

Redi-Mix's malice and/or gross negligence, and Stark Ranch seeks exemplary damages from Redi-

Mix.




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                                  COUNT II: NEGLIGENT TRESPASS

                                            (AGAINST REDI-MIX)

         32.      Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

         33.      Additionally and/or alternatively, Redi-Mix owed a duty to Sellers and Stark Ranch

to not trespass on the Property. Redi-Mix entered the Property without authorization.

         34.      Redi-Mix breached this duty by failing to ascertain whether or not it was mining on

the Sellers' or Stark Ranch's property. Redi-Mix further breached this duty by failing to ascertain

whether or not it was deforesting timber and other vegetation from the Property or placing cables

on the Property.

         35.      Redi-Mix's negligent acts are the proximate cause of damage to the Sellers and/or

Stark Ranch, and Stark Ranch seeks all damages available under applicable law, including but not

limited to damages for cost of restoration or repair, loss of use of the land, loss of expected profits

from the use of the land, loss or diminution of market value of land, the intrinsic value of trees and

plants, and/or the value of the sand taken from the Property.

         36.       Further, the harm with respect to which Stark Ranch seeks recovery resulted from

Redi-Mix's malice and/or gross negligence, and Stark Ranch seeks exemplary damages from Redi-

Mix.

                                 COUNT III: CONVERSION OF SAND

                                            (AGAINST REDI-MIX)

         37.      Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

         38.      The Sellers and/or Stark Ranch owned the sand on the Property. Redi-Mix

wrongfully exercised dominion and control over the sand on the Property, and the Sellers and Stark
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Ranch have suffered injury. Accordingly, Stark Ranch is entitled to recover all damages caused by

Redi-Mix's conversion of the sand from the Property, and Stark Ranch seeks all damages available

under applicable law, including but not limited to damages for the value of the sand and/or the

amount of any enhanced value of the sand, without any deduction for any expenses incurred by

Redi-Mix in mining or processing it. Additionally or alternatively, Stark Ranch seeks damages or for

any value added to the sand by Redi-Mix's inclusion of the sand in any final product, including but

not limited to damages in the full amount of the sales prices or value of any final concrete product

sold by Redi-Mix that included the sand. Additionally and/or alternatively, Stark Ranch seeks

damages for loss of value (including fair market value plus interest and/or highest market value plus

interest and/or intrinsic value) and lost profits.

         39.      Further, the harm with respect to which Stark Ranch seeks recovery resulted from

Redi-Mix's malice and/or gross negligence, and Stark Ranch seeks exemplary damages from Redi-

Mix.

                     COUNT IV: REQUEST FOR DECLARATORY RELIEF

                         (AGAINST REDI-MIX AND THE SCOTT TRUST)

         40.      Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

         41.      Pursuant to chapter 37 of the Texas Civil Practice & Remedies Code ("TCPRC"),

Stark Ranch requests the Court to enter a Declaratory Judgment declaring, in whole or in part, one

or more of the following:

                  The Red River Boundary Compact does not apply to the determination of
                  the legal boundary of the Property because the Compact explicitly states that
                  it does change: the title of any person or entity, public or private, to any of
                  the lands adjacent to the Red River; the rights, including riparian rights, if
                  any, of any person or entity, public or private, that exist as a result of the
                  person's or entity's title to land adjacent to the Red River; or the boundaries
                  of those lands.
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         42.      A controversy exists between the parties as to whether the Compact applies in

determining the Property's boundary lines. Stark Ranch seeks these declarations in order to afford it

relief from the dispute with respect to the Compact's application to this matter.

         43.      Because the Scott Trust is the lessor under the Mining Lease, as amended, and has

interests that may or would be affected by the declaration (TCPRC § 37.006(a)), Stark Ranch joins

the Scott Trust for purposes of its claim for declaratory judgment.

                                            VI.
                             APPLICATION FOR INJUNCTIVE RELIEF

                                            (AGAINST REDI-MIX)

         44.      Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.

         45.      Additionally and/or alternatively, pursuant to Chapter 65 of the TCPRC and Rule

680 of the TRCP, Stark Ranch seeks injunctive relief against Redi-Mix.

         46.      Stark Ranch has demonstrated a probable right to relief and a likelihood of success

on the merits.

         47.      By reason of the acts and practices of Redi-Mix, as more fully set forth herein above,

Stark Ranch is suffering, and continues to suffer, incalculable financial loss and great and irreparable

injuries to its Property for which it has no adequate remedy at law.

         48.      An eminent threat exists that Redi-Mix will continue to trespass upon the Property

and convert sand from the Property for its own possession, ownership, use, and profit, without

authorization.

         49.      Unless Redi-Mix is enjoined from doing so, Stark Ranch will be irreparably harmed

because, among other things, damages are not presently ascertainable and/or presently cannot be

measured by any certain pecuniary standard.
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         50.      Further, pursuant to section 65.011(5) of the TCPRC, Stark Ranch has a statutory

right to an injunction for the threatened irreparable injury to the Property, irrespective of any

remedy at law.

         51.      By virtue of the foregoing, a balancing of the equities favors the issuance of a

Temporary Restraining Order and Temporary Injunction against Redi-Mix. Stark Ranch respectfully

prays that this Court issue a Temporary Restraining Order and that Redi-Mix, its agents, officers,

directors, employees, and any other person or entity acting in concert with or on behalf of Redi-Mix

who receive actual notice of the Court's Order by service or otherwise, be ordered, in whole or in

part, as follows:

         Redi-Mix shall desist and refrain from entering the Property and from altering,
         modifying, removing, and/or destroying any sand, timber, or vegetation on the
         Property.

         52.      Stark Ranch is ready and willing to post an appropriate bond set by the Court. Stark

Ranch further requests that the Court schedule a hearing at which time Redi-Mix should be required

to appear and show cause why a Temporary Injunction should not be issued prohibiting Redi-Mix's

activities through the time of trial, and that, upon such hearing, a Temporary Injunction be issued

prohibiting Redi-Mix's activities to the time of trial and, thereafter, a Permanent Injunction upon

final trial, to restrain Redi-Mix from the foregoing activities.

                                              VII.
                                  REQUEST FOR ATTORNEYS' FEES

                                            (AGAINST REDI-MIX)

         53.      Stark Ranch incorporates by reference all allegations contained above as if fully set

forth herein.




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         54.      As a result of Redi-Mix's conduct, Stark Ranch has retained the services of Kane

Russell Coleman Logan PC, licensed attorney's to enforce its rights and protect its legal interests.

Stark Ranch has agreed to pay Kane Russell Coleman Logan PC reasonable and necessary attorney's

fees and expenses. Pursuant to section 37.009 of the TCPRC and other applicable law, Stark Ranch

is entitled to recover from Redi-Mix its reasonable and necessary attorneys' fees, court costs, and

expenses in pursuing this action.

                                               VIII.
                                       CONDITIONS PRECEDENT

         55.      All conditions precedent to recovery for the relief sought herein have been

performed, have occurred, or have been satisfied.

                                          IX.
                          DISCOVERY RULE AND OTHER DOCTRINES

         56.      In response to any statute of limitations, statute of repose, or similar defenses

asserted by Redi-Mix, Stark Ranch pleads the discovery rule as to all claims. Specifically, the Sellers

did not discover the facts giving rise to the claims herein until in or around December 2017, after

which the Sellers promptly placed "No Trespassing" signs on the Property near the bank of the Red

River across from Redi-Mix's processing facility and objected to Redi-Mix's activities and trespass

via an in-person meeting at the Property with a Redi-Mix employee.

         57.         Additionally and/or alternatively, Stark Ranch pleads the continuing tort doctrine

as to all claims. Redi-Mix committed ongoing or repeated trespasses or conversions and/or a series

or succession of trespasses or conversions regarding the Property and the sand thereon. Each day

that the foregoing were committed creates a separate cause of action.




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                                                        X.
                                                      PRAYER

         WHEREFORE, Plaintiff Stark Ranch requests that upon final hearing of this cause, the

Court enter a judgment in favor of Stark Ranch for the following:

         a.       Declaratory relief as requested herein;

         b.       Injunctive relief as requested herein;

         c.       Judgment against Redi-Mix for damages in an amount proven at trial or hearing
                  within this Court's jurisdictional limits;

         d.       Pre-and post-judgment interest as allowed by law;

         e.       Reasonable and necessary attorneys' fees;

         f.       Costs of court;

         g.       Such other and further relief to which Stark Ranch may be justly entitled.

                                                       Respectfully submitted,

                                                       KANE RUSSELL COLEMAN LOGAN PC
                                                       1601 Elm Street, Suite 3700
                                                       Dallas, Texas 75201
                                                       (214) 777-4200 / Fax (214) 777-4299

                                                       By: s/ Boyd A. Mouse____________________
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                                                            Boyd A. Mouse
                                                            State Bar No. 24003949
                                                            bmouse@krcl.com
                                                            Emily Green
                                                            State Bar No. 24106027
                                                            egreen@krcl.com

                                                             ATTORNEYS FOR PLAINTIFF




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                                       CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been served this 12th day of
August, 2019 on all counsel of record via the Court's electronic filing service.


                                                       Boyd A. Mouse
                                                       Boyd A. Mouse




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